                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN

DONALD J. TRUMP, Candidate for
President of the United States of       No. 2:20-cv-01785
America,

              Plaintiff

     v.

THE WISCONSIN ELECTIONS
COMMISSION, et al.,

              Defendants.



               BRIEF OF INTERVENOR-DEFENDANT
      DEMOCRATIC NATIONAL COMMITTEE’S IN OPPOSITION TO
      PLAINTIFF DONALD J. TRUMP’S MOTION FOR EXPEDITED
        DECLARATORY AND INJUNCTIVE RELIEF (ECF NO. 6)




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                 INTRODUCTION AND SUMMARY OF THE ARGUMENT

       The Democratic National Committee (“DNC”) appreciates this Court’s grant of permission

to intervene in this litigation under Fed. R. Civ. P. 24(b). See ECF No. 61. The DNC will strive

to comply with the Court’s admonition to “work to ensure that judicial economies are maintained”

and that the DNC’s participation “will not be a burden on further proceedings.” Id. at 4. With that

in mind, the DNC is filing this single brief setting forth both its opposition to the President’s

“Motion for Expedited Declaratory and Injunctive Relief” (ECF No. 6) and the largely identical

arguments in support of its Motion to Dismiss the President’s Complaint (ECF No. 1) under Fed.

R. Civ. P. 12(b)(1) and 12(b)(6). As set forth below, the extraordinary declaratory and injunctive

relief the President seeks should be denied in its entirety and the Complaint should be dismissed

without leave to amend.

       The Plaintiff, Donald J. Trump in his capacity as “Candidate for President of the United

States,” alleges that the defendant state and local election officials “ran an unconstitutional and

unlawful Presidential election in Wisconsin”; seeks a declaration that these state and local officials

“infringed and invaded upon [sic] the Wisconsin Legislature’s prerogative and directions under

Article II of the U.S. Constitution regarding the conduct of the 2020 Presidential election in

Wisconsin”; and asks this Court “to immediately remand this matter to the Wisconsin

Legislature” for further relief. Compl. ¶¶ 31, 302 (emphasis added).

       The DNC obviously has a substantial stake in the outcome of this litigation. Its nominees

for President and Vice-President, President-elect Joseph R. Biden, Jr. and Vice President-elect

Kamala D. Harris, won the 2020 national popular vote five weeks ago by over seven million votes.

Biden and Harris have secured an Electoral College victory of 306-232, which will be finalized

next Monday, December 14, 2020. In Wisconsin, the Biden-Harris ticket initially won by a margin



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of 20,585 votes. The partial recount demanded by President Trump and Vice President Pence,

which at their behest was targeted at only two of Wisconsin’s 72 counties, increased the Biden-

Harris winning margin in Wisconsin to 20,682 votes.

       Biden and Harris are therefore entitled—as a matter of state and federal law—to

Wisconsin’s ten electoral votes. See Wis. Stat. §§ 5.10, 5.64(1)(em), 7.70(5)(b), 8.18, 8.25(1).

The results of the Wisconsin Presidential election have been certified by the Chairperson of the

Wisconsin Elections Commission (“WEC”), and Governor Evers in turn has signed the Certificate

of Ascertainment and transmitted it to the Archivist of the United States. See 3 U.S.C. § 6; see also

Wis. Stat. §§ 7.70(3)(a), 7.70(5)(b). Wisconsin’s Presidential election is over.

       Except in the courts. President Trump and his allies have now filed seven challenges in

Wisconsin’s state and federal courts since November 12, three of which remain pending: (1) this

action brought by President Trump, purportedly in defense of “the Wisconsin Legislature’s

prerogative and [statutory] directions,” Compl. ¶ 31; (2) Feehan v. Wisconsin Elections

Commission, E.D. Wis. No. 2:20-cv-1771, brought by a Wisconsin voter who also is a nominated

Trump elector, pending before Chief Judge Pepper; and (3) President Trump’s state court

challenge to the recount results, pending in Trump v. Biden, Milwaukee Cnty. Case No. 2020-CV-

7092 and Dane Cnty. Case No. 2020-CV-2514.1

       Some of these lawsuits have, in the words of Wisconsin Supreme Court Justice Brian

Hagedorn last Friday, sought to “invalidate the entire Presidential election in Wisconsin by


       1
          Three of the other Wisconsin post-election cases were petitions for original actions filed
in Wisconsin Supreme Court; all were denied. See Trump v. Evers, No. 2020AP1971-OA (petition
denied Dec. 3, 2020) (Ex. 1); Mueller v. Jacobs, No. 2020AP1958-OA (petition denied Dec. 3,
2020) (Ex. 2); Wisconsin Voters All. v. Wisconsin Elections Comm’n, No. 2020AP1930-OA, at 2
(petition denied Dec. 4, 2020) (Ex. 3). The remaining case challenging the Wisconsin election
results was Langenhorst v. Pecore, No. 1:20-cv-1701-WCG (E.D. Wis.), filed on November 12
but voluntarily dismissed on November 16.


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declaring it ‘null’—yes, the whole thing,” a result that “would appear to be unprecedented in

American history.” Wisconsin Voters All. v. Wisconsin Elections Comm’n, No. 2020AP1930-OA,

at 2 (Wis. Dec. 4, 2020) (Hagedorn, J., concurring) (emphasis added) (Ex. 3). The President’s

state recount effort tries a different tack. It does not seek to invalidate the entire Wisconsin vote,

but rather to weaponize the recount process by targeting large numbers of ballots in only Dane and

Milwaukee Counties—the two most urban, nonwhite, and Democratic counties in the State.

Voters in both targeted counties cast ballots in reliance on WEC guidance, practices, and forms

dating back as long as a decade. Indeed, voters and local election officials throughout Wisconsin

relied on the challenged WEC guidance, practices, and forms in last month’s election, but President

Trump seeks in the recount to invalidate only the ballots of Dane and Milwaukee County voters

who did so. This sort of targeted disenfranchisement would blatantly violate equal protection

guarantees.

       This lawsuit, though based on many of the same generalized post-hac grievances about the

WEC’s interpretations of various Wisconsin election statutes, seeks a different, equally

unprecedented remedy. The President asks this Court to declare that various WEC interpretations

of Wisconsin election statutes are wrong, and that these state agency interpretations of state law

“infringed and invaded upon the Wisconsin Legislature’s prerogative and directions under Article

II of the U.S. Constitution regarding the conduct of the 2020 Presidential election.” Compl. ¶ 31.

Not only would the President have this Court adjudicate state law claims against state officials, he

demands an outlandish and nonexistent remedy:

       Plaintiff asks this Court to immediately remand this matter to the Wisconsin
       Legislature to review the nature and scope of the infringement declared and
       determine the appropriate remedy for the constitutional violation(s) established,
       including any impact upon the allocation of Presidential electors for the State of
       Wisconsin.




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Id. (emphasis added).

       These requests are frivolous on their face. There is, of course, no such thing as a “remand”

of litigation from a federal district court to a state legislature. And just like the Wisconsin Voters

Alliance case that Justice Hagedorn described—which raised many of the same allegations that are

being recycled in this litigation—President Trump’s submissions “fall[] far short of the kind of

compelling evidence and legal support we would undoubtedly need to countenance the court-

ordered disenfranchisement of every Wisconsin voter.” No. 2020AP1930-OA, at 2 (Hagedorn,

J., concurring) (emphasis added) (Ex. 3). There are multiple grounds for denying the President’s

untimely and utterly meritless requests for emergency relief. These include:

          The President lacks Article III standing as either a voter or a candidate to press these

           claims. He lacks standing, as well, to bring suit to defend “the Wisconsin Legislature’s

           prerogative and [statutory] directions” for conducting elections in this State. Compl. ¶

           31. His claims of vote dilution and other alleged injuries (even if they had a plausible

           basis, which they do not) are no more than generalized grievances, not individual harms

           to him.

          Most of the President’s claims are barred by laches because he could have sought

           judicial relief prior to the election, well before 3.2 million Wisconsin voters had cast

           their ballots. And all of his claims are barred by laches because he has waited for so

           long after the election—nearly a full month—to bring suit.

          The President’s claims also are barred under blackletter Eleventh Amendment law. He

           cannot ask a federal court to adjudicate state law claims against state actors, and he

           cannot turn those claims into federal questions by relabeling them as due process, equal

           protection, or other federal constitutional violations.



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            Basic principles of federalism and comity also counsel both Pullman and Colorado

             River abstention.

            The President states no claim upon which relief can be granted.

            The President satisfies none of the requirements for the injunctive relief he seeks. He

             is not likely to succeed on the merits, he has failed to establish that he will suffer

             irreparable harm, and both the public interest and the equities weigh decisively against

             him.

       This Court should deny President Trump’s Motion for Expedited Declaratory and

Injunctive Relief. As requested in the accompanying Motion to Dismiss being filed by the DNC,

the Court also should expeditiously dismiss this suit in its entirety. President Trump and his allies

have now brought more than 60 lawsuits in state and federal courts throughout the Nation seeking

to challenge the election results, and in many instances to nullify those results outright.2 None of

those cases has succeeded. Nor should this one.

       State and federal judges from across the ideological spectrum have united in rejecting these

sorts of flimsy and audacious attacks on the Presidential election results and the rule of law, as

many of the citations throughout this brief will attest. Lawsuits like these not only are an abuse of

process, they continue to, and perhaps are intended to, erode public confidence in our electoral

system. The corrosive effects are like battery acid on the body politic. There must be an end to

spurious litigation, and courts must communicate that to current and would-be litigants and their

lawyers. As Justice Hagedorn emphasized last week in his Wisconsin Voters Alliance concurrence:

       Something far more fundamental than the winner of Wisconsin’s electoral votes is
       implicated in this case. At stake, in some measure, is faith in our system of free and

       2
          Alanna Durkin Richer, Trump loves to win but keeps losing election lawsuits, AP NEWS
(Dec. 4, 2020), https://apnews.com/article/donald-trump-losing-election-lawsuits-
36d113484ac0946fa5f0614deb7de15e.


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       fair elections, a feature central to the enduring strength of our constitutional
       republic. It can be easy to blithely move on to the next case with a petition so
       obviously lacking, but this is sobering. The relief being sought by the petitioners is
       the most dramatic invocation of judicial power I have ever seen. Judicial
       acquiescence to such entreaties built on so flimsy a foundation would do indelible
       damage to every future election. Once the door is opened to judicial invalidation of
       presidential election results, it will be awfully hard to close that door again. This is
       a dangerous path we are being asked to tread. The loss of public trust in our
       constitutional order resulting from the exercise of this kind of judicial power would
       be incalculable.

Ex. 3 at 2 (emphasis added). Other courts have joined not only in dismissing, but in strongly

condemning, insidious lawsuits like these seeking the “drastic,” “breathtaking,” “unprecedented,”

and “disenfranchising” relief of nullifying the voters’ decision and awarding the election to

President Trump. Donald J. Trump for President, Inc. v. Pennsylvania, No. 20-3371, 2020 WL

7012522, at **1-7 (3d Cir. Nov. 27, 2020).

       Just yesterday, two federal district courts dismissed similar lawsuits seeking to overturn

the election results based on unfounded claims of widespread voter fraud and official wrongdoing.

Judge Parker of the U.S. District Court for the Eastern District of Michigan admonished:

       [T]he Court finds that Plaintiffs are far from likely to succeed in this matter. In
       fact, this lawsuit seems to be less about achieving the relief Plaintiffs seek—as
       much of that relief is beyond the power of this Court—and more about the impact
       of their allegations on People’s faith in the democratic process and their trust in our
       government. Plaintiffs ask this Court to ignore the orderly statutory scheme
       established to challenge elections and to ignore the will of millions of voters. This,
       the Court cannot, and will not, do.

Slip Op. at 35-36, King v. Whitmer, No. 2:20-cv-13134 (E.D. Mich. Dec. 7, 2020) (Ex. 4). Judge

Batten of the U.S. District Court for the Northern District of Georgia also dismissed a similar

lawsuit yesterday in Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov. 25, 2020).3


       3
           Nicole Carr, Federal judge dismisses Sidney Powell lawsuit seeking to decertify
Georgia’s elections, WSB-TV2.com (Dec. 7, 2020), (available at:
https://urldefense.proofpoint.com/v2/url?u=https-3A__protect-
2Dus.mimecast.com_s_EVT4Cv29yYU778N0uQNLbw_&d=DwMF-


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       Respectfully, this Court should likewise not only deny the President’s requested relief, but

dismiss and condemn this litigation in the strongest terms possible.

                                        BACKGROUND

       The President’s Complaint and motion papers are a cut-and-paste assemblage of various

grievances that have been raised in other post-election Wisconsin lawsuits, packaged together

under a new constitutional theory. Rather than seeking to invalidate the entire election or to target

large numbers of voters in Milwaukee and Dane Counties for disenfranchisement, the President in

this case asks a federal court to hold that various interpretations of Wisconsin’s absentee-voting

laws by the WEC were in “purposeful disregard” of supposedly plain statutory language, which

supposedly “infringed and invaded upon the Wisconsin Legislature’s prerogative and [statutory]

directions.”   Compl. ¶ 31.     The President identifies three categories of such state agency

malfeasance. We discuss each in turn.

       A.      The “indefinitely confined” exemption

       Wisconsin voters who self-certify that they are “indefinitely confined because of age,

physical illness or infirmity or . . . disabled for an indefinite period” are not required to submit

photocopies of their photo IDs with their absentee ballot applications. Wis. Stat. §§ 6.86(2)(a),

6.87(4)(b)(2). After the pandemic hit Wisconsin in March and the Evers Administration issued a

“Safer-at-Home Order” on March 24, some county clerks advised voters on social media they

could claim to be “indefinitely confined” pursuant to the order for purposes of voting absentee in

the April 7 spring election. Both the WEC and the Wisconsin Supreme Court disagreed with that




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yzrHjqLpXuHNC_9nanQc6pPG_SpT0&r=ujHaccxZeCkVMgPPje6IryfbR0QhDRwqm2pPPtsv
haw&m=Eq0xjcOJkBwSYhlm3PuGAZhfC4GhCttJ4_A4ZTuutbw&s=bRBVgiwxyHTp-
Rvu36TxkTFObbXDtRBq3fwpDppFaSY&e=)


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broad and unqualified reading. Instead, the WEC issued, and the State’s high court endorsed,

much narrower guidance that left the decision to individual voters subject to certain guidelines.

       The WEC’s March 29, 2020 guidance, which remains in effect, provides in pertinent part:

       1. Designation of indefinitely confined status is for each individual voter to make
       based upon their current circumstance. It does not require permanent or total
       inability to travel outside of the residence. The designation is appropriate for
       electors who are indefinitely confined because of age, physical illness or infirmity
       or are disabled for an indefinite period.

       2. Indefinitely confined status shall not be used by electors simply as a means to
       avoid the photo ID requirement without regard to whether they are indefinitely
       confined because of age, physical illness, infirmity or disability.

Ex. 5 at 1. The WEC’s guidance emphasizes that, “[d]uring the current public health crisis, many

voters of a certain age or in at-risk populations may meet that standard of indefinitely confined

until the crisis abates.” Ex. 5 at 2 (emphasis added).4

       In a March 31, 2020 order, the Wisconsin Supreme Court granted the Republican Party of

Wisconsin’s motion for a temporary restraining order, directing the Dane County Clerk to “refrain

from posting advice as the County Clerk for Dane County inconsistent with” the above quote from

the WEC guidance. Jefferson v. Dane Cnty., No 2020AP557-OA (Mar. 31, 2020) (Ex. 6). Neither

the WEC nor the Wisconsin Supreme Court provided further guidance before the November 3




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          Wisconsin has a decades-long legislative policy of taking voters at their word concerning
“indefinite confinement.” The relevant portion of what is now numbered Section 6.86(2)(a) has
been unchanged since 1985, when the Legislature eliminated a formal affidavit requirement for
those claiming to be “indefinitely confined” and allowed voters to self-certify instead. See WIS.
STAT. § 6.86(2) (1985). Consistent with this statutory self-certification approach, the
Commission’s guidance emphasizes the importance of avoiding any “proof” requirements.
“Statutes do not establish the option to require proof or documentation from indefinitely confined
voters. Clerks may tactfully verify with voters that the voter understood the indefinitely confined
status designation when they submitted their request, but they may not request or require proof.”
Ex. 5 at 2.


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election; WEC’s March 29 guidance (as endorsed by the State’s highest court) thus remained in

effect through the election, and voters throughout the State relied upon it.

       Having lost the election, the President now argues that the WEC’s definition of

“indefinitely confined” is far too lenient, that WEC should have allowed local officials to demand

further proof, and that WEC should have taken further efforts to limit reliance on the “indefinitely

confined” exemption in the midst of the worst global pandemic in over a century. Compl. ¶¶ 74-

108. Never mind that the Wisconsin Supreme Court itself endorsed that guidance in its March 31

order in Jefferson v. Dane County (Ex. 6); never mind that the Wisconsin high court could have

expedited its consideration of the Jefferson case (which remains pending) so as to provide more

detailed guidance before the election about claiming the “indefinitely confined” exemption, but

decided not to; never mind that the Legislature at any time could have enacted clarifying legislation

but sat on its hands.

       The President offers no explanation for why he waited until after the election to challenge

WEC’s guidance, as he easily could have done under Wis. Stat. § 227.40(1). Nor does the

President offer any actual facts showing that the WEC’s supposedly problematic interpretation led

to any abuse of the “indefinitely confined” provision.

       B.      The Center for Tech & Civic Life, “the five Mayors’ Plan,” and drop boxes

       Much of the President’s Complaint is devoted to a meandering set of allegations in support

of a claim that the “Mayors in Wisconsin’s five largest cities adopted an unlawful plan to expand

absentee voting using prohibited, un-manned, drop boxes and the Wisconsin Elections

Commission supported the unlawful plan.” Compl. p. 37 (heading). A central actor in this claim

is the Center for Tech & Civic Life (“CTCL”), which is accused by the President of attempting to

“open[] the doors to ballot harvesting and voter coercion.” Id. ¶ 223.




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       In fact, as Judge Griesbach found in rejecting a pre-election challenge to CTCL’s election-

related activities, the Center is “a private non-profit organization” that, through its COVID-19

Response Grant Program, has awarded grants to municipalities of all sizes “to assist them in safely

conducting a national election in the midst of the public health emergency created by the COVID-

19 pandemic.” Wisconsin Voters All. v. City of Racine, No. 20-C-1487, 2020 WL 6129510, *1

(E.D. Wis. Oct. 14, 2020) (Griesbach, J.), stay denied, 2020 WL 6591209 (E.D. Wis. Oct. 21,

2020), stay denied, No. 20-3002 (7th Cir. Oct. 23, 2020), stay denied, No. 20A75 (U.S. Oct. 29,

2020) (Kavanaugh, J., in chambers). In the leadup to the November election, CTCL offered grants

“to every local election department in every state in the union to ensure that they have the staffing,

training, and equipment necessary so that this November every eligible voter can participate in a

safe and timely way and have their vote counted.” Ex. 7 at 1. As Judge Griesbach found, although

the President repeatedly suggests these grants went only to five cities in Wisconsin (Milwaukee,

Madison, Green Bay, Racine, and Kenosha), in fact, over 100 Wisconsin municipalities throughout

the State, urban and rural, received grants from CTCL on a strictly non-partisan basis. City of

Racine, 2020 WL 6129510, **1-2. CTCL made these grants to the Cities of Altoona, Amery, and

Antigo, at one end of the alphabet, all the way through to the Town of Weston, the Township of

Wien, and the Village of Wilton at the other end, along with another hundred municipalities in

between. See Ex. 7 at 23–27.

       As for the use of drop boxes, state law provides that an absentee ballot envelope “shall be

mailed by the elector, or delivered in person, to the municipal clerk issuing the ballot or ballots.”

Wis. Stat. § 6.87(4)(B)(1) (emphasis added). The WEC has long interpreted the “delivered in

person” option to mean that, instead of mailing her ballot, a voter may deliver it “in person” to the

municipal clerk at one or more secure places designated by the clerk. See Ex. 8 at 2 (“Under Wis.




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Stat. §6.87(4)(b)(1) municipal clerks may establish opportunities for voters to hand deliver their

ballot in their jurisdictions.”).

        In response to the COVID-19 pandemic and to the serious concerns about the speed and

reliability of the U.S. Postal Service, the WEC on August 21, 2020 issued a guidance document

for local election officials outlining their permissible “drop box options for secure absentee ballot

return for voters.” Ex. 9 at 1. “A drop box is a secure, locked structure operated by local election

officials,” where voters may conveniently and safely return their by-mail absentee ballots without

having to rely on the USPS or enter government office buildings. Id. The WEC’s guidance

document specifies the numerous security precautions that local officials must take when using

such boxes (including the use of secure locks, tamper-evident seals, security cameras, and chain-

of-custody logs). Id. at 3–4. The WEC guidance also encourages local election officials to

“repurpose” existing municipal “infrastructure set up for secure collection of payment and

materials,” such as mail slots used for tax payments and public library book drop slots. Id. at 1–

2.

        For a variety of reasons—convenience, fear of the pandemic, and distrust of USPS service,

among others—secure drop boxes were popular with Wisconsin voters throughout the State. There

ultimately were over 500 secure drop boxes used in all 72 counties in the weeks leading up to the

election. See Compl. ¶ 189 n.3.

        The DNC is not aware of any problems with absentee-ballot drop boxes identified during

the statewide canvass or partial recount processes. The President’s Complaint has not alleged any

specific incidents of ballot-tampering, ballot theft, or other abuses of ballot drop boxes.

        C.      Witness address information

         An absentee voter must complete her ballot and sign a “Certification of Voter” on the

absentee ballot envelope in the presence of a witness. Wis. Stat. § 6.87(4)(b). The witness must


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then sign a “Certification of Witness” on the envelope, which must include the witness’s address.

Wis. Stat. § 6.87. Since October 2016, the WEC has instructed municipal clerks that, while they

may never add missing signatures, they “must take corrective action” to add missing witness

addresses if they are “‘reasonably able to discern’” that information by contacting the witnesses

or looking up the addresses through reliable sources. Ex. 10 at 1. The WEC has repeated these

instructions in multiple guidance documents over the past four years. See Ex. 11 at 3 (guidance in

current WEC Election Administration Manual that clerks “may add a missing witness address

using whatever means are available,” and “should initial next to the added witness address”). This

construction was adopted unanimously by the WEC over four years ago; has governed in eleven

statewide races since then, including the 2016 presidential election and recount; has been relied

upon by local election officials and voters throughout the State; and has never been challenged

through Chapter 227 judicial review or otherwise. Ex. 12 at 4–5.

       Until now. Like the plaintiffs in many of the other Wisconsin court challenges over the

past month, the President argues that WEC has exceeded its statutory authority over the past four

years in requiring clerks to attempt to fill in missing witness address information, and seeks to

exclude all such ballots cast last month. Compl. ¶¶ 240-80. Here again, he offers no explanation

for why he waited until after the election to raise this challenge.

                                       LEGAL STANDARD

       Motion to dismiss. The standards for a motion to dismiss are relevant in two respects.

They govern this Court’s consideration of the various motions to dismiss that are being filed in

this action, including by the DNC. But they also are relevant in considering the President’s

“Motion for Expedited Declaratory and Injunctive Relief,” because a plaintiff’s claims have no

likelihood of success on the merits, and thus cannot support injunctive relief, if they fail to state a




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claim upon which any form of relief ultimately can be granted.

       In deciding a motion to dismiss, the Court presumes the veracity of all well-pleaded

material allegations in the Complaint, see Firestone Fin. Corp. v. Meyer, 796 F.3d 822, 826 (7th

Cir. 2015), but “a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (alteration in original)

(quoting Fed. R. Civ. P. 8(a)). “[C]onclusory statements of law . . . and their unwarranted

inferences . . . are not sufficient to defeat a motion to dismiss for failure to state a claim.” N. Tr.

Co. v. Peters, 69 F.3d 123, 129 (7th Cir. 1995).

       The President’s drumbeat of claims about alleged “fraud” are subject to the heightened

pleading requirements of Fed. R. Civ. P. 9(b), which require a party pleading fraud to “state with

particularity the circumstances constituting fraud.” This standard “ordinarily requires describing

the ‘who, what, when, where, and how’” of the fraud. AnchorBank, FSB v. Hofer, 649 F.3d 610,

615 (7th Cir. 2011); see also Walton v. Walker, 364 Fed. App’x 256, 258 (7th Cir. 2010)

(seemingly “paranoid” allegations of “a vast, encompassing conspiracy” must meet a “high

standard of plausibility” before a plaintiff may proceed, with the court “making the determination

of plausibility” by “rely[ing] upon judicial experience and common sense”) (citation omitted).

       Motion for preliminary injunction. To obtain a preliminary injunctive relief “a movant

‘must make a threshold showing that (1) absent preliminary injunctive relief, he will suffer

irreparable harm in the interim prior to a final resolution; (2) there is no adequate remedy at law;

and (3) he has a reasonable likelihood of success on the merits.” Tully v. Okeson, 977 F.3d 608,

612-13 (7th Cir. 2020). Then, “if the movant makes this threshold showing, the court proceeds to

consider the balance of harms between the parties and the effect of granting or denying a




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preliminary injunction on the ‘public interest.’” Id. (quoting Turnell v. CentiMark Corp., 796 F.3d

656, 662 (7th Cir. 2015)); see also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

       This is a demanding standard in any case but, where, as here, a plaintiff seeks a mandatory

injunction, it is heightened. See, e.g., Mays v. Dart, 974 F.3d 810, 818 (7th Cir. 2020) (“Mandatory

preliminary injunctions—those ‘requiring an affirmative act by the defendant’—are ‘ordinarily

cautiously viewed and sparingly issued.’”) (quoting Graham v. Med. Mut. of Ohio, 130 F.3d 293,

295 (7th Cir. 1997)).

                                           ARGUMENT

I.     The Court should dismiss this case because President Trump lacks standing.

       President Trump lacks Article III standing to pursue his claims because he has not shown,

as he must, that he “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged

conduct of the defendant[s], and (3) that is likely to be redressed by a favorable judicial decision.”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1543 (2016) (citation omitted).

       First, the President has not pled an injury in fact. The Complaint identifies no specific

cause of action, instead asserting generally that the 2020 election “was not conducted consistent

with the direction of the Wisconsin Legislature,” resulting in alleged “violations of the Electors,

Equal Protection and Due Process Clauses” of the Constitution. Compl. ¶ 302 & 72. Instead of

pleading that such supposed violations injured Trump, however, the Complaint alleges that

Defendants “infringed and invaded upon the Wisconsin Legislature’s prerogative and directions.”

Id. ¶ 30 (emphasis added).       But President Trump cannot sue to vindicate such alleged

“infringement” of the Wisconsin Legislature’s rights. The Third Circuit, presented with similar

claims by voters and a candidate for federal office, explained why: “Because Plaintiffs are not the

General Assembly, nor do they bear any conceivable relationship to state lawmaking processes,

they lack standing to sue over the alleged usurpation of the General Assembly’s rights under the


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Elections and Electors Clauses.” Bognet v. Sec’y Commw. Of Pa. No. 20-3214, 2020 WL 6686120,

at *7 (3d Cir. Nov. 13, 2020).

       The President also pleads no facts showing that he, rather than the Legislature, was injured

by the alleged “infringement.” Instead, he requests a “remand” to permit the Legislature itself to

“review the nature and scope of the infringement” and “determine the appropriate remedy for the

constitutional violation(s) established, including any impact upon the allocation of Presidential

electors.” Id. (emphasis added). Such ambivalent allegations do not come close to establishing

that the President, in his capacity as a candidate, was injured by another party’s “unfair advantage

in the election process.” Donald J. Trump for President v. Cegavske, No. 2:20-CV-1445, 2020

WL 5626974, at *6 (D. Nev. Sep. 18, 2020). Ultimately, the President asserts an “undifferentiated,

generalized grievance about the conduct of government” that is insufficient to support Article III

standing.    Lance v. Coffman, 549 U.S. 437, 442 (2007) (per curiam); see also Wood v.

Raffensperger, No. 1:20-cv-04561, 2020 WL 6817513, at *5 (N.D. Ga. Nov. 20, 2020); aff’d, No.

20-14418, 2020 WL 7094866 (11th Cir. Dec. 5, 2020); Hotze v. Hollins, No. 4:20-CV-03079, 2020

WL 6437668, at *2 (S.D. Tex. Nov. 2, 2020) (“Every citizen, including the Plaintiff who is a

candidate for federal office, has an interest in proper execution of voting procedure. Plaintiffs

have not argued that they have any specialized grievance beyond an interest in the integrity of the

election process, which is common to all members of the public.” (internal quotation marks

omitted)).

       Second, even if President Trump had pled an injury, which he has not, he could not show

that any such injury is redressable by this Court. He asks the Court to ignore the voters’ will and

“remand” this case to the Legislature “to consider the Defendants’ violations . . . and determine

what remedy, if any, the Wisconsin Legislature should impose.” Compl. at 72. As a procedural




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matter, that is impossible. There is no mechanism in federal civil procedure for this Court to

“remand” a lawsuit to a legislative body. Nor has the President actually explained how doing so

would redress any supposed injury he suffered; indeed, he expressly would leave it to the

Legislature to determine “what remedy, if any,” is appropriate. Id. (emphasis added). To the

extent the President intends that this Court, in “remanding” the case to the Legislature, should set

aside the result of the election, see id. (seeking declaration that “constitutional violations … likely

tainted more than 50,000 ballots”), that is also impossible, including because Wisconsin’s

Certificate of Ascertainment has already been transmitted to the National Archives. See Wood v.

Raffensperger, 2020 WL 7094866, *6 (“Because Georgia has already certified its results, Wood’s

requests to delay certification and commence a new recount are moot. ‘We cannot turn back the

clock and create a world in which’ the 2020 election results are not certified.” (citation omitted)).

       Finally, granting President Trump’s requested “remedy” would itself impermissibly work

multiple constitutional and statutory violations. As authorized under Article II of the U.S.

Constitution, the State of Wisconsin has determined that presidential electors should be selected

by popular vote, not by the Legislature. See Wis. Stat. § 8.25(1); Bush v. Gore, 531 U.S. 98, 104

(2000) (per curiam). That decision cannot be reversed as it relates to an election that has already

occurred, and even a prospective change would require lawmaking, not a court order. See Smiley

v. Holm, 285 U.S. 355, 373 (1932). Separately, only Congress has the power to determine the time

of choosing electors, see U.S. Const. art. II, § 1, cl. 4, and Congress decided that choice should

occur on Election Day, i.e., November 3, 2020, with narrow exceptions not applicable here. Thus,

a “remand” for the Legislature to make a new choice would violate federal law, see 3 U.S.C. § 1.

More fundamentally, setting aside the election would unlawfully disenfranchise the over 3.2

million Wisconsin voters who cast ballots last month. See Shipley v. Chicago Bd. of Election




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Comm’rs, 947 F.3d 1056, 1061 (7th Cir. 2020). Even if the President identified any actual flaws

in the procedures used to conduct the election, which he has not, changing the rules after the fact

and with no opportunity to “cure” would be quintessentially unfair to voters, violating substantive

and procedural due process, see Briscoe v. Kusper, 435 F.2d 1046, 1055 (7th Cir. 1971), the First

Amendment, see Anderson v. Celebrezze, 460 U.S. 780, 788 (1983), and the equal protection rights

of every voter who chose the winning slate, see Bush, 531 U.S. at 104-05.

II.    The doctrine of laches bars President Trump’s claims.

       Even if the President were able to establish that he has standing to pursue his claims (and,

for the reasons discussed above, he is not), the doctrine of laches independently bars any relief.

“Laches arises when an unwarranted delay in bringing a suit or otherwise pressing a claim

produces prejudice to the defendant.” Fulani v. Hogsett, 917 F.2d 1028, 1031 (7th Cir. 1990).

The doctrine applies with special force and urgency in the election-law context. A long line of

Seventh    Circuit   decisions   emphasizes     that   election-law   claims    “must    be   brought

‘expeditiously’ . . . to afford the district court ‘sufficient time in advance of an election to rule

without disruption of the electoral cycle.’” Jones v. Markiewicz-Qualkinbush, 842 F.3d 1053,

1061 (7th Cir. 2016) (citations omitted) (emphasis added); see also Bowes v. Indiana Secretary of

State, 837 F.3d 813, 818 (7th Cir. 2016) (“plaintiffs in general must act quickly once they become

aware of a constitutional violation, so as not to disrupt an upcoming election process”); Nader v.

Keith, 385 F.3d 729, 736 (7th Cir. 2004) (“It would be inequitable to order preliminary relief in a

suit filed so gratuitously late in the campaign season.”); Fulani, 917 F.2d at 1031 (denying relief

where plaintiffs’ delay risked “interfer[ing] with the rights of other Indiana citizens, in particular

the absentee voters”); Navarro v. Neal, 904 F. Supp. 2d 812, 816 (N.D. Ill. 2012) (“By waiting so

long to bring this action, plaintiffs ‘created a situation in which any remedial order would throw

the state’s preparations for the election into turmoil.’”), aff’d, 716 F.3d 425 (7th Cir. 2013).


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       Through not using the term “laches,” the U.S. Supreme Court has long “insisted that federal

courts not change electoral rules close to an election date.”        Democratic Nat’l Comm. v.

Bostelmann, 977 F.3d 639, 641-42 (7th Cir. 2020) (citing, inter alia, Purcell v. Gonzalez, 549 U.S.

1 (2006)), stay denied, No. 20A66, 2020 WL 6275871 (Oct. 26, 2020). Wisconsin law is in accord.

See Hawkins v. Wisconsin Elections Comm’n, 2020 WI 75, ¶¶ 9-10, 393 Wis. 2d 629, 948 N.W.2d

877 (2020) (rejecting petition for original action filed two months before the 2020 general election

where the Court concluded there was insufficient time to grant “any form of relief that would be

feasible,” and that granting relief would “completely upset[] the election,” cause “confusion and

disarray,” and “undermine confidence in the general election results”). Overturning the results of

an election after it has been held, as the President attempts to accomplish, would create far more

confusion, disarray, and loss of public confidence in the results.

       All of the elements of laches are satisfied here. The President and his counsel are guilty of

egregious delays. The practices he challenges were in place long before November 3rd and could

have readily challenged before the election. The WEC’s guidance, for example, could have been

challenged at any time before the election in a declaratory judgment action under Wis. Stat. §

227.40(1). These “exclusive” review procedures could have been used to present claims that the

WEC’s guidance “exceeds the statutory authority of the agency,” id. § 227.40(4)(a), which is

precisely what the President is claiming here. But President Trump and his counsel inexcusably

waited nearly a full month after the election before bringing suit—and until after Wisconsin had

certified its presidential election results—to seek relief.

       Nor is there any question that the DNC and its nominees, the public, and the administration

of justice in general would be prejudiced if the Court excused President Trump’s delay in bringing

this suit. The requested relief would retroactively disenfranchise some, or all, of Wisconsin’s




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voters after voting has concluded and would destroy confidence in the electoral process. As

explained yesterday in King v. Whitmer, the “rationale for interposing the doctrine of laches is at

its peak” in these post-election cases. Slip Op. at 19, No. 2:20-cv-13134 (E.D. Mich. Dec. 7, 2020)

(Ex. 4). “Interference with impending elections is extraordinary, and interference with an election

after voting has begun is unprecedented.” Sw. Voter Registration Educ. Project v. Shelley, 344

F.3d 914, 919 (9th Cir. 2003) (citing Reynolds v. Sims, 377 U.S. 533, 585 (1964)). As Justice

Hagedorn emphasized last week, such interference with an election after it has concluded “would

appear to be unprecedented in American history.” Wisconsin Voters All., No. 2020AP1930-OA,

at 2 (Hagedorn, J., concurring) (Ex. 3).

III.   The Eleventh Amendment bars the President’s claims.

       The Eleventh Amendment also separately and independently bars the President’s claims.

It prohibits federal courts from granting “relief against state officials on the basis of state law,

whether prospective or retroactive.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106

(1984); see also Dean Foods Co. v. Brancel, 187 F.3d 609, 613 (7th Cir. 1999) (“[F]ederal courts

cannot enjoin a state officer from violating state law.”) This is true even when state law claims are

styled as federal causes of action. See Colon v. Schneider, 899 F.2d 660, 672 (7th Cir. 1990)

(rejecting plaintiff’s attempt to “transmute a violation of state law into a constitutional violation”

and noting that such state law claims would be barred by the Eleventh Amendment); see also, e.g.,

Massey v. Coon, No. 87-3768, 1989 WL 884, at *2 (9th Cir. Jan. 3, 1989) (affirming dismissal

where “on its face the complaint states a claim under the due process and equal protection clauses

of the Constitution, [but] these constitutional claims are entirely based on the failure of defendants

to conform to state law”); Balsam v. Sec’y of State, 607 F. App’x 177, 183–84 (3d Cir. 2015)

(Eleventh Amendment bars state law claims even when “premised on violations of the federal

Constitution”).


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       None of the President’s claims escapes this bar. In substance, he asks the Court to

determine that state officials violated state law and compel state officials to do what he believes

Wisconsin law requires.      He defines the central issue at one point as “Whether Election

Administrators Adhered to the Direction of the Wisconsin Legislature in the Conduct of the

Presidential Election.” Compl. p. 14. He wants “this Court to declare that these failures by

Wisconsin’s election officials, which conflicted with their duties under the [Wisconsin] Election

Code, abridged the Legislature’s authority under the Electors Clause.” Id. ¶ 162; see also id. ¶ 26

(claiming the “Wisconsin public officials” engaged in “ultra vires acts” that were “inconsistent

with state law and the directions of the Wisconsin Legislature as set forth in the Wisconsin Election

Code”); id. ¶ 280 (“the Wisconsin Elections Commission usurped the authority of the Wisconsin

Legislature”).

       The President’s “Motion for Expedited Declaratory and Injunctive Relief” only serves to

underscore that his issues are truly state law claims masquerading as the basis for a federal action.

Once again, it asserts purported violations of Wisconsin law. The President claims that, “[b]y

ignoring the Wisconsin Legislature’s express directions . . .Defendants have violated the

Wisconsin Election Code.” ECF No. 6 at ¶ 2. He seeks an order from this Court “[e]njoin[ing]

the Defendants from any further actual or threatened actions that would infringe on the authority

of the Wisconsin Legislature.” Id. ¶ 12(c); see id. ¶ 14 (requesting that Defendants be “enjoined

from further violating the Wisconsin Election Code”).

       Granting the President’s request would violate the Eleventh Amendment. See Archie v.

City of Racine, 847 F.2d 1211, 1217 (7th Cir. 1988) (“[T]o treat a violation of state law as a

violation of the Constitution is to make the federal government the enforcer of state law. State

rather than federal courts are the appropriate institutions to enforce state rules.”); see also, e.g.,




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Ohio Republican Party v. Brunner, 543 F.3d 357, 360-61 (6th Cir. 2008) (holding Pennhurst bars

claim that Secretary of State violated state election law).

IV.     The Court should abstain from exercising jurisdiction

       The Court also should decline to exercise jurisdiction over this lawsuit overwhelmingly

asserting issues of state election law under multiple well-settled abstention doctrines.

       First, abstention is warranted under the Pullman doctrine, which “applies when the

resolution of a federal constitutional question might be obviated if the state courts were given the

opportunity to interpret ambiguous state law.” Wisconsin Right to Life State Political Action

Comm. v. Barland, 664 F.3d 139, 150 (7th Cir. 2011) (internal quotation marks omitted). Pullman

abstention is appropriate if there is (1) “a substantial uncertainty as to the meaning of the state law”

and (2) “a reasonable probability that the state court’s clarification of state law might obviate the

need for a federal constitutional ruling.” Id. at 150 (internal quotation marks omitted). Here, the

central contention of the Complaint is that Defendants took actions that were “inconsistent with

state law and the directions of the Wisconsin Legislature as set forth in the Wisconsin Election

Code.” Compl. ¶ 26. The bulk of President Trump’s allegations describe supposed state law

violations, including in relation to “indefinitely confined” voting status, see id. ¶¶ 83-108, drop

boxes, see id. ¶¶ 168-217, and the process for curing missing witness addresses on absentee ballots,

see id. ¶¶ 235-280. The President accuses Defendants and other Wisconsin officials of, among

other things, “undermining the Wisconsin Election Code,” id. ¶ 29, “improperly chang[ing] the

application of Wisconsin law,” id. ¶ 90, and engaging in “disobedience to the Wisconsin

Legislature’s directions,” id. ¶ 143. Accordingly, to adjudicate the President’s claims would




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require this Court to resolve alleged “uncertainty” about the meaning of Wisconsin law.5 And it

is at least “reasonably probable” that the Wisconsin courts’ adjudication of the state law issues

President Trump raises would “obviate the need for a federal constitutional ruling.” Wisconsin

Right to Life, 664 F.3d at 150. If a Wisconsin court correctly rejected the President’s contention

that Defendants violated state law, there would be no need for this Court to opine about whether

constitutional injury arose from such alleged violations.

        Second, abstention is warranted under the Colorado River doctrine, which provides that a

federal suit “should yield to a parallel state suit” if (1) “the concurrent state and federal actions are

actually parallel” and (2) “the necessary exceptional circumstances exist to support a stay or

dismissal.” DePuy Synthes Sales, Inc. v. OrthoLA, Inc., 953 F.3d 469, 477 (7th Cir. 2020) (internal

quotation marks omitted). There is a concurrent and parallel state court action: President Trump’s

appeal from the WEC’s post-recount determinations “involve[s] the same parties, the same facts,

and the same issues” and likely “will dispose of all claims presented in the federal case.” Id. at

478. The necessarily exceptional circumstances exist: among other things, both actions concern

state law, and the recount is not only “adequa[te] . . . to protect [Plaintiff’s] rights,” id. at 477, but

is the “exclusive judicial remedy” under Wisconsin law “for testing the right to hold an elective

office as the result of an alleged irregularity, defect or mistake committed during the voting or



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            In fact, some of the same state law issues Plaintiff raises are the subject of pending
litigation in the Wisconsin Supreme Court. See generally Jefferson v. Dane Cty., No 2020AP557-
OA (challenge to official interpretation of “indefinite confinement” provisions of Wisconsin law).
The “indefinite confinement” and “witness address” issues are both also being litigated in the
Wisconsin recount appeals. See generally Trump v. Biden, Milwaukee County Case No. 2020-
CV-7092; Dane County Case No. 2020-CV-2514. And only last week, in dissenting from the
denial of an original action petition that concerned similar challenges, Wisconsin Chief Justice
Roggensack described the petition as raising “significant legal issues that cry out for resolution by
the Wisconsin Supreme Court.” Trump v. Evers, No. 2020AP1971-OA (Wis. Dec. 3, 2020)
(Roggensack, C.J., dissenting).


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canvassing process,” Wis. Stat. § 9.01(11). The claims in the federal case, meanwhile, are

“vexatious or contrived,” for all the reasons set forth herein. Depuy Synthes Sales, Inc., 953 F.3d

at 477. Indeed, a federal court in Michigan found Colorado River abstention appropriate in a

similar case only yesterday. See Slip Op. at 20-23, King v. Whitmer, No. 2:20-cv-13134, (E.D.

Mich. Dec. 7, 2020) (Ex. 4). Well-established principles support the same result here.

V.     President Trump’s Complaint fails to state a claim on which relief can be granted.

       Even if the Court were to exercise jurisdiction, which it should not, the Complaint should

be dismissed under Fed. R. Civ. P. 12(b)(6) because it has not alleged “enough facts to state a

claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. The Complaint describes

no cause of action this Court can adjudicate. Instead, it asserts generally that “the 2020 Presidential

Election in Wisconsin was not conducted consistent with the direction of the Wisconsin

Legislature thereby violating the U.S. Constitution,” including its “Electors and Elections Clauses

and the Equal Protection and Due Process Clauses.” Compl. ¶ 302 & 71. Nothing in the Complaint

states a claim under any of these provisions.

       The Elections and Electors Clauses of the Constitution vest authority in “the Legislature”

of each state to regulate “[t]he Times, Places, and Manner of holding Elections for Senators and

Representatives,” U.S. Const. art. I, § 4, cl. 1, and to direct the selection of presidential electors,

U.S. Const. art. II, § 1, cl. 2, respectively. President Trump’s contention that Defendants violated

state election procedures, even if it had any merit, which it does not, does not establish a violation

of these constitutional provisions. Only yesterday, another federal district court rejected a similar

strategy where, as here, the plaintiffs did not “explain how or why such violations of state election

procedures automatically amount to violations of the clauses.” Slip Op. at 30, King v. Whitmer,

No. 2:20-cv-13134 (E.D. Mich. Dec. 7, 2020) (Ex. 4). Instead, the plaintiffs’ claims were “in fact




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state law claims disguised as federal claims.” Id. So too here. This Court, like the court in King,

should reject the theory that “any alleged deviation from state election law amounts to a

modification of state election law and opens the door to federal review.” Id.

       Nor does President Trump come close to stating an equal protection claim. The Complaint

includes only a handful of vague references to equal protection principles. It asserts, for example,

that the use of ballot drop boxes allegedly without “uniform standards” rendered them

“constitutionally suspect under the Equal Protection and Due Process Clauses.” Compl. ¶ 199. As

explained supra, such generalized grievances are insufficient to support standing, much less state

a claim. See Wood, 2020 WL 6817513, at *5; Hotze, 2020 WL 6437668, at *2. As a result,

multiple courts have rejected attempts to plead equal protection claims based on allegedly “non-

uniform” election procedures. See, e.g., Donald J. Trump for President, Inc. v. Boockvar, No.

4:20-CV-02078, 2020 WL 6821992, at *14 (M.D. Pa. Nov. 21, 2020), (rejecting “the proposition

that every rule or system must ensure uniform treatment”) aff’d sub nom. Donald J. Trump for

President, Inc. v. Sec’y of Pennsylvania, No. 20-3371, 2020 WL 7012522 (3d Cir. Nov. 27, 2020).6

       The President falls even further short of pleading a violation of due process. The Complaint

contains no non-conclusory references to due process principles. To the extent the President means

to allege that due process was violated by supposed deviations from Wisconsin election law, “[t]he

Constitution is not an election fraud statute,” and “[i]t is not every election irregularity … which

will give rise to a constitutional claim.” Bodine v. Elkhart Cty. Election Bd., 788 F.2d 1270, 1271


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          Concerning voting by mail, the Complaint cannot even decide which subgroup of voters
supposedly received unequal treatment, compare Compl. ¶ 146-47 (alleging that “mail-in voters
are more susceptible to undue influence and even coercion and intimidation” and “[t]herefore, for
instance, mail-in balloting is susceptible to systemic discrimination against the infirm and the
elderly”) with id. ¶ 148 (“Mail-in balloting also discriminates against able-bodied voters, those
who can vote in-person on Election Day ….”). Much less does the Complaint plausibly allege that
the President in his capacity as a candidate was treated unequally.


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(7th Cir. 1986) (internal quotation marks omitted). Instead, to “strike down an election on

substantive due process grounds,” a plaintiff must show “(1) likely reliance by voters on an

established election procedure and/or official pronouncements about what the procedure will be in

the coming election; and (2) significant disenfranchisement that results from a change in the

election procedures.” Bennett v. Yoshina, 140 F.3d 1218, 1226-27 (9th Cir. 1998); see also Curry

v. Baker, 802 F.2d 1302, 1315 (11th Cir. 1986) (to implicate due process, election defects must

“go well beyond the ordinary dispute over the counting and marking of ballots”). Here, President

Trump does not allege that Defendants caused any disenfranchisement at all. Instead, it is the

President himself who seeks to disenfranchise millions of Wisconsin voters by discarding the

election results and “remanding” to the Legislature. The Complaint should be dismissed.

VI.     President Trump is not entitled to injunctive relief, and certainly is not entitled to a
        “remand” to the Wisconsin Legislature for that body to “determine the appropriate
        remedy.”

        For the reasons discussed above, the President cannot establish a “likelihood of success on

the merits.” Tully, 977 F.3d at 612-13. He has failed to carry his burden on any of the remaining

factors necessary to entitle him to preliminary relief, much less the extraordinary and

unprecedented relief he seeks. No court has ever done what the President asks this Court to do—

throw out the election results and “remand” the dispute to a state legislature for it to determine the

“appropriate remedy.” Compl. ¶ 31. As the Third Circuit put it recently when the Trump

Campaign sought an order prohibiting Pennsylvania’s officials from certifying election results,

such relief—“throwing out millions of votes—is unprecedented” and a “drastic remedy.” Donald

J. Trump for President, Inc. 2020 WL 7012522, at *7. “Voters, not lawyers, choose the President.

Ballots, not briefs, decide elections.” Id. at *9.




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       A.      President Trump cannot establish irreparable harm and has an adequate
               remedy at law.
       The President has not shown injury or a likelihood of success on the merits of his

constitutional claims. So, his assertion that he will suffer irreparable harm based on those

violations is unfounded. Further, his delay before seeking relief weighs against the probability of

irreparable injury. See Ty, Inc. v. Jones Grp., Inc., 237 F.3d 891, 903 (7th Cir. 2001); see also

Wright & Miller, 11A Federal Practice and Procedure, § 2948.1 (3d ed., Apr. 2017 update) (“A

long delay by plaintiff after learning of the threatened harm also may be taken as an indication that

the harm would not be serious enough to justify a preliminary injunction.”). The President’s

alleged injuries occurred (if at all), on or before election day. Yet he waited until nearly four weeks

after election day, after the election had been certified, to file this lawsuit. This Court should

consider his inexcusable delay in determining whether he is entitled to “emergency” relief.

       The President also has an adequate remedy at law, weighing against a finding of irreparable

harm. See United States v. Rural Elec. Convenience Co-op. Co., 922 F.2d 429, 432 (7th Cir. 1991)

(“It is well settled that the availability of an adequate remedy at law renders injunctive relief

inappropriate.”). In this case, Wisconsin law provides mechanisms to dispute election results.

Because President Trump can engage these mechanisms--and has done so through the recount and

judicial appeals from it--he has an adequate remedy at law. See, e.g., Donald J. Trump for

President, Inc., 2020 WL 7012522, at *8 (“Because the Campaign can raise these issues and seek

relief through state courts and then the U.S. Supreme Court, any harm may not be irreparable.”);

see also Rural Elec. Convenience Co-op. Co., 922 F.2d at 433 (observing that “a party’s ability to

assert its claims as a defense in another proceeding constitutes an adequate remedy at law”).




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        B.      The balance of equities and public interest weigh heavily against the issuance
                of an injunction or “remand” to the Wisconsin Legislature.
        The balance of equities and public interest cut sharply against granting injunctive relief.

For a federal court to “remand” a case to the Wisconsin Legislature over a month after the

Presidential election for the Legislature to decide how to award Wisconsin’s ten electoral votes

would, at the risk of understatement, wreak havoc on Wisconsin’s elections processes, violate the

constitutional rights of millions of Wisconsinites, and undermine if not destroy public confidence

and trust in the election’s results. See United States v. Classic, 313 U.S. 299, 315 (1941)

(“Obviously included within the right to choose, secured by the Constitution, is the right of

qualified voters within a state to cast their ballots and have them counted ….”); Shipley, 947 F.3d

at 1061 (“It is undeniable that the right to vote is a fundamental right guaranteed by the

Constitution. The right to vote is not just the right to put a ballot in a box but also the right to have

one's vote counted.” (citations omitted)).

        For these reasons, in the past several weeks, courts have rightly refused to issue similar

injunctions. See Donald J. Trump for President, Inc., 2020 WL 7012522, at *8–9 (construing

Trump Campaign’s request to enjoin Pennsylvania’s certification of results as a request to

disenfranchise voters, and refusing to do so); Wood, 2020 WL 6817513 at *13 (denying request to

enjoin Georgia from certifying its election results, concluding that “interfer[ing] with the result of

an election that has already concluded would be unprecedented and harm the public in countless

ways”), 2020 WL 7094866 (11th Cir. Dec. 5, 2020). This Court should do the same.

                                           CONCLUSION

        For the foregoing reasons, the Democratic National Committee respectfully requests that

the Court deny President Trump’s Amended Motion for Expedited Declaratory and Injunctive

Relief” in its entirety.



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 DATED: December 8, 2020
                                        Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on Tuesday, December 8, 2020, I filed a copy of the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

all counsel of record.


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